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            EXHIBIT A
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                                                                                04/02/2022


              a Messages and calls are end-to-end crncrypt<>d. No one outside of this chat, not even WhatsApp, can r<>ad or listen to them. Click to learn morQ.

Hey Neil! It's Scarlett. I will come to High St with A■ now i n the Uber :) 12,35


                                                                                                                                                                 Perfect 12,36 .p

                                                                                                                                         Maritime Muse'ii'AA"


                                                                                                                                 ~
                                                                                                                                           t         2tUEENS WHARF
                                                                                                                                 VIADUCT
                                                                                                                                                     r;;J   ~
                                                                                                                                 H~ RBO..IJR
                                                                                                                                            0
                                                                                                                                                     Britomartf)
                                                                                                                                                    t;      c,,,,,~-
                                                                                                                                  Live location not available             12=~9

                                                                                                                              I'll head to the park opposite Unity. 12,51 .//


Perfect we are 1 min away from there ! 12, 52

Hey Neil I'm 5 min away from the terminal - I'm in an Uber 13.i,2

Eeep I don't think I'll make it!! We got held up with a roadblock! I'll get on the 3pm one 13, 58


                                                                                                                                                                All good. 14,~ 4 -u

                                                                                               Do you have a bus pass? I can give you d.irections to my place. 14,»4 #

                                                                                    It's a 12 minl!te bus ride and a 5 n,lnu1e walk over a secret wetlanct path. 140 >S .u


I actually don't - I lost my wallet yesterday so am relying on Apple Pay. It's been one of those weeks!
But I'm sure I can talk them into letting me on! The secret wetland path sounds amazing!           14:08


                                                                                                   All good. I can always-come and pick you up from the ferry. 14~2 .//

                                                             Somewhere (probablJI at Amanda's) there are three or four key fob bus passes with money on.



Thanks so much - I'll see how I go. If they bite the bait which bus do I get and where is the stop?



                                                                                                                                        _
                                                                                                                                        s ea or B you go to Ostend 14, 14 .//

                                                                                                                  13 stops. Get off on wharf road opposite RAW 14, 14 ✓/




                                                                                      1
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                                                                           1aon·t Kllow wny Irs tne tseI9Ium stre.e t stop wnen it's on wnarr roaa .out It Is. 14,37 ✓.I


Amazing thank you. Haha Belgium stop it is! I'll let you know if I get stuck but let's hope for a bus trip
                                                                                                      15:07


                                                                                                                                                  Let me know. 15, 57 (I


Ok cool I will. Just getting off the ferry now 15,57

On the bus. Waiheke drivers are so nice!! 18,04


                                                                                                                                                     Excellent!! 16125 .//

                                                                                                                                 Have you got off tha bus yet? 16,2,.; ...v


Yep just walking along the wetlands. Beautiful ! 16, 25


                                                                                                                                Brilliant. See you in 5 minutes! 16:26 ✓/


Still waiting! I'm sure i:-allllis on Waiheke time. They are quite frantic here 19, 39


                                                                                                  Don't panic. We can always re.lease the                ickets. 19, 46 ✓.I

                                                                             05/02/2022


M0rena Nell • • who can believe It, I have woken up with what I think Is a broken toe ......... and It's
rather unbecoming...... I am crawling around like a little ant! I know it sounds completely strange
because well it just is. Or else it is a bee sting or something because it's very swollen and I can't
really walk. I am going to put some ice on it and take si>me anti inflammatories & fingers crossed.
Happy to come around whenever this morning for -            but I'm afraid cycling might be off the cards
with my damned t~. I feel like an invalid. Thank you for a lovely lovely night - wow x                08:48

Aha - not a broken·toe ....a bloody bee sting!! 09, 22


                                                                                                             Whoa! I will pick you up. Y.es, no cycling for you. 09 ,24 ✓/

                                                                                                                   It was a marvellous t.irne. Thank you againl 09 ,24 .//

                                                                                                                                             A■is fast asleep. 0 ~, 24 ✓/


Haha thank you, that's good he is fast asleep! I'll slowly get myself together and give my foot sor, v
ice. Let me know whenever you're leaving so I can be ready tit,                                       ,
                                                                                                    09 26


                                                           Amanda's coming back· soon. I'll be with you about 11:10 to take you to market. If :you can walk. Let
                                                           me know if that's a bad idea for your foot though.                                              , 0 ,47 .u




                                                                                2
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                                                                 Amanda's coming back soon. I'll be with you about 11:10 to take you to market. If you can walk. Let
                                                                 me know if that's a bad idea for your foot though.


Perfect that sounds cool. I might be limping in not my most elegant choreography! 10, 56


                                                                                                                                                       All good. n:oo .//

                                                                 Spoke to Amanda. I'm now dropping a■off with you around midday and then you and he and
                                                                 Amanda came here at 5.


Ok excellent. See you later x 11 , 26


                                                                                                    Amanda may also want me to meet you guys at the market. 11: 32 ✓/


                                                                                  06/02/2022


Leaving soon. Do you feel like a rain bath:) if it's still raining .... 23 , 27


                                                                                                                     Maybe! I'm trying to get ,tlto sleep still. 23_32 ..v

                                                                                               (And used his bath bomb bath becavse such a waste otherwise.) 23:33 .u


See you soon ! X 23, 39


                                                                                                                        Yes! Also I have an 8 am call tomorrow 23 , 43 ..v


                                                                                  07/02/2022


Let me know If you want me to run a bath        -X 00,11
I am consumed by thoughts of you, the things you will do to me. I'm so hungry. What a terrible
creature you've turned me into. I hope tomorrow, or some other time soon           9                        01:11

What have you done to me, only a couple of hours and I've already been the baddest girl. I think you
need to give me a huge spanking very soon. I'm fucking desperate for my master.                   22,so
So naughty even sending you texts like that. Extra punishment needed. Goodnight. 23 ,11


                                                                                                                                         -    Goodnight, dear. 23 ,., v


                                                                                  09/02/2022


Hi you. I've spoken with Amanda about this weekend and if I come over on Friday night can I perhaps
stay at the pohutukawa haus .... •                                                              14:38




                                                                                   3
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                                                                                                                                 You always have a room! 18,52 //

                                                                                                                                               And a host. 21 ,00 .//


Don't tempt m e... 21 , 57

I mean ..... If you happen to be alone later tomorrow night and are struck by an adventurous impetus,
maybe I could come for a visit and then vanish in the morning for work like an apparition .... I'm at your
service.
You've made me a bit of a g reedy g irl. : )                                                          22:a2


                                                                              10/02/2022


                                                           That would be wonderf ul but I'm almost definitely on P•   .uty. (I am a1·most always on JI.   My.)
                                                                                                                                                            15:34 ✓.I


Heehee that is indeed a p ickle.   fuA Tomorrow too ? 19,00
                                                           The default is me and .A11 1n theory he sleeps 3 nights a week at Amanda's but it doesn't happen
                                                           often in practice.                                                                           2a, 28 ._g


Of course xx I'm just looking forward to seeing you: ) sleep well !I 23 ,34


                                                                              11/02/2022


On the bus   ?'i 21,2.9
                                                                              13/02/2022


Can't sleep. Too windy although it's amazing. Are you awake? 00 , 52


                                                                              16/02/2022



                    ..
Reminder for the washing to get put in dryer or hung up x and for you to change the locks on your
phones from   alli;;;il                                                                           ,
                                                                                                09 09


                                                                                                                                           Good reminder 13,15 .//


                                                                              19/02/2022


                                                                              What's your ETA at hotel and do you have the room key and room number? 18,03. ✓/
                                                                                                                                                                        V


ETA 6.30. Yes we have room key- what is room number? 18,04




                                                                                   4
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                                                                                                                                  Would that be okay? 18,06


Of course 18,11


                                                                                         Thank you! Also called you with my nZ number so you have it. 18,14 .//


Great sorry we were on the dodgems when you called xx 18,15

We are in the Uber! 19,14


                                                                                                      Fennel apple salad
                                                                                                      Creamy slaw
                                                                                                      Cauliflower
                                                                                                      Salmon Latkes small
                                                                                                      Street dog double no mustard or mayo only tomato sauce
                                                                                                      Montreal poutine large
                                                                                                      Root beer float                                 19:56 I,


                                                                           20/02/2022


Morena ! I hope you got a long and deep sleep. What time shall I come over this morning or what
works for you?                                                                                  os:20


                                                                           21/02/2022


Do you have a red marker pen you could bring to the beach so we can do the points system on our
poster? And can you please bring a notebook and a couple of pens? :)


                                                                                                                                Roger that Red Baron. 14,15 ~

                                                                                                                      We have a green marker. No red. 14,22 .//


Hahaha. Green is good! Put it in your pocket now : ) 14, 23


                                                                                                                                               Will do. 14,23 //


We wil l be with you in 5 mins! 15, 30


                                                                           23/02/2022


Hello Neil. What is your plan. When should I meet you and where x 15, 33

I think I found your buckwheat pillow! It smells of buckwheat and the label says pure earth. 21, 37




                                                                              5
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                                                                                                                                              (..    Perfect 22:313 ,I./

                                                                              26/02/2022


I may be ill but I am tying here with my sick little mind wandering into terrible, filthy, dark places and I
want you to (if I'm lucky), occasionally instruct me with naughty thing_s to do so that I can fill all this
alone time imagining your cruelty. I mean you have turned me into a bit of a bratty slut after all and
now that I am naked in your bed that smells of you with your dirty boxers between my thighs it is kind
of your responsibility to at least force me into doing a few despicable things whilst you're away, right
master? Or will I be punished much later for this bold and disreputable text? I'm sorry I'm such a
desperate and perverted and kinky sad little girl. What do they say, when you play with fire ........ : )
                                                                                                       20:35


                                                           Dream dark dreams. I'm glad you are there with my µnwashed clothes in my bed.that smells like me.
                                                           Be safe. And I worry about your Covid.                                                      21,27 ..u

                                                           Mostly I'm gl;id to give you comfort. And there should be a lot of fro2en vegetarian meals in the tall
                                                           freezer.                                                                                        21:44 .//


I'm glad you unintentionally left me some unwashed clothes you know I fucking love it. This whole
house smells so damn good because it smells of you. I'm now downstairs watching Tarkovsky's
Stalker which is my favourite film ever made and I figure it will help with the dark dreams. •

I am so worried about you catching Covid. D-       is positive too you must have heard. Amanda is
telling me not to always magical think but I am crossing my fucking heart that some invisible health
giving entity descends to earth and lands on your airplane seat right now and showers you in little
health kisses and maybe some naughty kisses too. My good friends ~        and Mllll,vho are in their
mid 50s are in a bubble - ~ a s been sick w.ith Covid all week but M- hasn't caught it...
Read more


                                                                              27/02/2022


                                                                      I'm so glad you are being taken care of. Does the criterion channel work on the TV? 03:39 ..ti'

                                                           Fingers crossed. At least Aa nd I were negative an hour before we got on the plane. We. will hope
                                                           and we will see And eat the figs at the bottom of the garden.                                  , ..u
                                                                                                                                                        03 40

                                                                                    Let me know if you -spot a white iPad anywhere, I think I hid it from A■ 06: 26 ✓/


Yes Criterion works, years ago I made an account on a VPN and it is working. I'm sure I can sniff out
your iPad to give to ~ I hope you landed well a.nd are feeling as rested as you can x              09:23

And I am sucking on your ripe figs already this morning sir ;) 09, 23


                                                                                                                                    I hug you from far <Nvay. 17,09 ✓/




                                                                                6
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                                                                                                                               I hug you from far away. 17, 09 //


Let me know when you finally make it to Scotland! Speed bonnie boat, like a bird on the wing. :)     ,
                                                                                                   19 19

                                                                                                   I will!! We are back to Heathrow and doing our best. 20,06


                                                                          28/02/2022




                                                                                                                                                         "
WOOOOOHOOO xxxx are those the red corduroys? He is so dashing 00,34




                                                                                                                                                         "
                                                                                                                                           He real y is. nn,-,,; .u




                                                                           7
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Thanks for putting the biggest smile on my face before I sleep from those adorable photos 00 , 36



IYou
 He really IS.

Wonder where he gets it from 00,36


                                                                                03/03/2022


I have found your iPad! 13:.4 0

I'm sorry it took so long. It was hidden in a bag. I will tell R-       hopefull y she can get it before she
leaves.

How are you? How is •        X 13, 41


                                                              I'm sick. Bad flu level sick. A■is Kid with a Cold level sick although with no energy. Worried about
                                                              what happens when his energy comes back

                                                                                               Well done on finding the iPad. Have you t,ested negative yet? 18 .16 (I


Oh fuck, Amanda just told me on our walk. I am utterly gutted to hear thi.s. Don't worry I won't say
anything to anyone {not that I would have anyone to say it to!). I wish I could be there to help you,
honestly, if I could click my fingers I would be standing before you, making hot ginger teas and garlic
soups and rubbing your feet ... The best thing you can do is sleep as much as you can right now. As
for me, I am feeling much better and mostly back to my normal self but the throat lingers. I will get
another test tomorrow. Oh Neil - you poor darling! I am so deeply sorry. Do you have a fever too?


Are you so sick you didn't sleep last night? 19, 23


                                                                                                                                Yup. I didn't sleep last night. 20 ,21


Oh dear. Darling darling Neil. •          ,
                                        20 26


                                                                             Don't worry. I was dodging bullets on Covid. One was going to land eventually. 21, 06 ..,y

                                                                                                                                         How are your tests? 21 , 06     ~



Oh darling Neil. I wish you could know how terribly guilty I feel, and worried, and a bit sad. I just wish I
were there to feel I could be of some succour. I feel helpless and also like it's my fault. Monitor your
breathing like a hawk. REST. I'm hoping you can get some sleep today,                                  21:16

I haven't had another test, I've just been tucked up at your house. Tomorrow I will go for one! I felt
great today.                                                                                           21:16

I hope you are surrounded by people who can bring you comforting things, good food, tea? 21 ,17




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                                                                                                            Not surrounded by anyone. Just a sick . .22, 56 ✓/


That seems like a good rule. Rest. 23 ,00

Honestly also try get some vitamin d if you can. I swear it really helped me 23 ,14


                                                                                                                                 I'm taking it each day. 23,28


                                                                            04/03/2022


How you feeling? 20 ,29


                                                          My sense of smell is starting to come back. I got my first healing sleep yesterday when M-      came
                                                          over and took care of 111111                                                                  20:53 //


                                                                            05/03/2022


Good ;) 00,,,




                                                                                                                      Q




                                                                                                                            I'm the two on top, Ailis the next
                                                                                                                            down.                       00:36 _,


Oh darling N. Hope you get some restorative sleep tonight.    W   also I'm trying to connect to the
sonas speaker in the kitchen and it's flashing green and white which according to google means I
need to connect to it from the app ... In the app it's asking me for an email and password - you don't
know it do you? So weirdly complicated.                                                             13:01




                                                                              9
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                                                                                                                                             gmail.com 16;34 ✓/

                                                                                                                                                         16:34 II

                                                                                                                                                  Xxxxx 16:35 ..41


Thank you. I've Just finished watching Pasollnl's Arabian Nights. What a film - so fucking hot. Some
parts remind me of you !! Get some sleep. Xx                                                      1?:08


                                                                                                                    Trying. Failing. Did the Sonos wotk? 19,12    (I



Yes thank you! You really have been sleeping badly. Are your symptoms easing? 19,
                                                                                 21


                                                           Hard to tell. It's been easier the last two days as Marissa has been looking after A■ora few hours
                                                           each day when I've rested or slept.


Oh golly. You poor thing. Make sure you get lots of garlic and ginger in you! In lockdown when I
thought I was getting ill I ate two whole c loves of garlic at once first thing in the morning and then
made myself sick for the rest of the day, so maybe don't do that    E
                                                                                                                                                I won't. 21 :os




                                                                               10
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Last question, I am trying to download Mubi on
the Apple TV. Can you confirm if you see a
notification come up on your device :)           22:22


                                                                                                       Not seeing anything. Is it available as a TV app? 22 :26


What about now? Oh yes I'll look on the TV app. Love the photo ! !!! 22 , 27

Found it on the tv app - thank you ,:j     ,
                                         22 30


                                                                                                                                              Of course!! 22,44 ✓/


                                                                               07/03/2022


Neil how are you and .      eeling? I hope you're well on the mend! You were in my dream last night
.._., we were running out of Oxford Square station when the world v.as ending and I was an assassin
hiding my identit y. Then there were other things.                                               09:40


                                                          My RAT test line was fainter today! A-   is still dark. Very tired all the time. Starting to get my sense
                                                          of taste and smell back                                                                           n:22

                                                                               12/03/2022


                                                                                                              ,. Forwarded




                                                                                                                    A■oves the world of illusion here. 0 1:49 ✓/




                                                                                  11
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Aaaaa! Thank you! These make me SO happy x 09,52


                                                                                                                      I'm so glad. Today he got a haircut! 10, 22 11




                                                                                                                        Q




                                                          Amanda tells me that you are having a rough time and you are really upset with me about what we
                                                          did. I feel awful about this. Would you like to talk about it? Is there anything I can do to make anything
                                                          better?


                                                                            13/03/2022


Hey. We'll speak soon. I'm coming out of my mysterious tummy illness day by day..... hope you are
doing good x                                                                                    22:19


                                                          When you are up to it. Sending love f rom here. I'm post Covid too. Mostly tired, coughing and
                                                          depressed.


                                                                            14/03/2022


Love back to you. Be gentle on yourself Neil and I'll write soon •   it's been a very big week     ,
                                                                                                 15 15


                                                                            24/03/2022


Hello Neil. How are you? I had a very intense dream about you last night, involving hanging onto
airplane wings in the middle of the sky! Are you doing ck? I will write more soon, but I wanted to just
check in and hear about how you are. Big hug to you.                                                11:0!l




                                                                              12
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                                                                             24/03/2022


Hello Neil. How are you? I had a very intense dream about you last night, involving hanging onto
airplane wings in the middle of the sky! Are you doing ok? I will write more soon, but I wanted to just
check in and hear about how you are. Big hug to you.                                                 11:09


                                                           Honestly, when Amanda told me that you were telling people I'd raped you and were planning to Me
                                                           Too me, I wanted to kill myself. But I'm getting through it a day at a time, and it's been two weeks
                                                           now and I'm still here. Fragile but not great.


Oh my God. Neil! I never said that. I have been deeply upset about it all because it has triggered
things from my past and also for many reasons I feel whiplash. But I'm horrified by your message -
me too you? Rape? WHAT? This is the first I have heard of this. Wow. I need a moment to digest your
message.

Ok - it's been blown way out of proportion it seems. My heart is pounding, I am so sorry you have
been so not ok. I had no idea. I have never used the word rape, I'm just so shocked, I honestly don't
know what to say                                                                                  11:28


                                                                                                     It's what amanda told me and W~ou were saying. ,i:2s ..,,,,


I literally have no words. 11, 29


                                                           She said you were telling lots of people about you and me and saying it was not consensual. And you
                                                           were thinking of Me Tooing me. And that you would not be able to see me when I returned. And that
                                                           people on Waiheke would shun me.                                                              11:31 ..//

                                                                                       It was very unstabiliising. I spent a week actively not killing myself. 11 ,32

                                                                                                                                      If you see what I mean. 11 ,32 .,n

                                                                                                She told me not to text you as it would only make it worse. 11 ,32


The more I hear the more I am dying inside. I can't believe this has been told to you. It's absolutely
not true. I feel sick to my stomach. Of course you are actively not killing yourself. This is incredibly
incredibly terrifying                                                                                  11:32

I'm so fucking relieved I messaged you. I am so sorry. No one knows about what happened apart
from my f riend M-     ..... oh man. I just need to digest all this.                          11:34


                                                                                                                          That's so weird. I mean. So weird. 11, 34

                                                                                                                                             Heart pounding. 11, 35 //




                                                                             13
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                                                                                                                                               Heart pounding. 11, 35 //


I feel like bawling my eyes out. I actually want to see you when you're back, and have expressed that
to amanda. I am hurt because of my past but I have no hard feelings at ALL. Does that make sense? I
think you're a wonderful person, and a friend . I would never "me too" you {I don't know where that
came from) and I have told Amanda that even though it began questionably eventually it was
undoubtedly consensual and I enjoyed it. Heart is pounding too. Neil - I am so deeply sorry to hear
how TERRIFYING this has been for you. I feel like I am being headfucked. I am so, so shocked.       ,
                                                                                                  11 39


                                                            She's also called my agent and told her about you, and called my kids and friends and warned them I
                                                            might be suicidal.

                                                                                        I am so glad that you messaged me. I thought you were a monster. 11:40 I/


Of course you thought I was a monster. This is utterly monstrous. l1:40

I just don't understand. I am so confused. So so so so confused. This is really frightening stuff. 11, 42


                                                                                     She explicitly told me you wouldn't see me. And the other stuff I said. 11:42 b

                                                                                                                                                            Um. 11:43 I/

                                                            Would you do me a favour? If I had W~          ur therapist call you, would you talk to him and just tell
                                                            him what you've been telling me?                                                                      11:44


Okay. I need to talk to her. I am nauseous. And yes of COURSE I will speak to ~ 11:44


                                                                                                 I'm weirded out and I don't want to make anything weirder. 11,44 I/


Me too. 11:44


                                                                                                              And talk to W-      befor E you talk to Amanda. 11:44 I/

                                                                              I worry that I have messed up some plan of hers by communicating with you. 11:45 7


Oh god neil. I'm so glad we communicated. 11,45

Yes I'll talk to ~      before amanda. This is pretty bad. 11 , 45

Maybe she just really wants you to get some help and therefore is trying to push you in that       v
direction? I don't know how this has come to what it has and won't pretend to. But please know - I
feel so much fondness towards you and there are no hard feelings. No me loo's, no rape accusations,
no "I don't want to see him's", no shunning, no telling everyone...... Jesus.                    11:45


                                                            I am so unbelievably grateful that you texted. I can't believe it, but I'm so glad. I feel like I'm not living
                                                            in the world I thought I was for the last few weeks.                                                     , .//
                                                                                                                                                                  12 02




                                                                               14
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You know I was going to message you to see if you could convince Amanda that it would be okay that
we just go on as before when you're back - in terms of me being part of yours and her life together
with A. For me I felt it was more damaging not being able to see you and not being able to just
keep it how it was. I am sitting here basically paralysed with shock. It is unbelievable to me that you
have been carrying this for so long. When I asked if she had talked to you about it she said not in
great detail but had mentioned that she knew. I am just so sorry, from the depths of my heart, that
this has happened. I can't believe the world that you have been living in.


                                                           It's not your fault. I'm sorry I thought you were the person I thought you were for the last few weeks.
                                                                                                                                                                    1i:11

                                                                                            That's such a generous message too. I would have loved that too. 12,16 .//

                                                                                                                                 You are a good person Scarlett. 12,17 ..,:1


I just went for a cycle and the whole world looks different. I am sick to my stomach in a way I have not
been for years. Oh Neil, I am so sorry. I can't say I understand this at all or what has happened, or
why, and I wish I messaged you sooner. I have nothing but tenderness and fondness for you.
Something else is clearly at play. I'm sending you love. Try and sleep.                              12:32


                                                                                             I will sleep easier tonight than I have since I was sick with Covld. 12 ,3 d {/

                                                                                                                                              And this is for you: 12:3s v

                                                                                                                                                                    12:35   V




Gut wrenchingly gorgeous. Thank you so much for sending those . • I'm in floods of tears so I can't
even begin to imagine hOw you feel. 1am so glad you will sleep easier. 1miss you and am so sorry
about this extremely confusing labyrinthine mess. I am really relieved I can talk to ~   Fuck. 12,48

All my love to you. Write to me in the morning and let me know how you are 12, 49

Feel free to call me tomorrow too if you want to. I would love to talk. Oh neil xx 12, 55


                                                                             25/03/2022


                                                                                                                                    sending love from Scotland. 13 :28 //


Just off the phone from ~        ow. Thank you darling friend, that was incredibly helpful and
illuminating. Huge love back and sleep deeply, you are precious and kind and everything good in the
world                                                                                           13:66


                                                                                                                                     That makes my heart Sing. 13:57 ✓./




                                                                               15
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            14:04


                                                                            26/03/2022


                                                          Apparently all the stuff about me raping you and the me tooing threats are coming from your friend
                                                          M-     o Amanda. M~            essage to Amanda is kind of awful - I'm a monster in it - and Amanda
                                                          seems to have bought it hook line and sinker.                                                 12, 09 ✓/

                                                          Again, I'm so sorry that I've brought any upset into your life. I thought that we were a good thing and
                                                          a very consensual thing Indeed                                                                    12:20 ,


I'm just out for coffee so I can't text but yes we did, and it was consensual (and wonderful)! M-
has been triggered by something I think.                                                             12,21


                                                                                                        That was what I thought and how I still feel. Sigh. 12, 26 .//

                                                                                                                      Sending so much love from Scotland. 12, 27 v


So much love back x rvalllllis one of my best friends but has been swept away by a narrative that is
not mine for reasons I don't understand. She is trying to protect me but there is nothing she needs to
protect. Her text would have been awful, I don't know what she said but fuck I can only imagine.
Amanda really wants me to come over today so I'm going back to the island. It makes me nervous.
                                                                                                     12:44


                                                          She was threatening Amanda if Amanda doesn't expose me as a monster. In M-           letter to
                                                          Amanda I anally rape you so hard you pass out and lots of other weird stuff ans sound pretty
                                                          monstery,                                                                                      12:46 //

                                                          Knowing that you would be prepared to say "it's not t rue, it was consensual, he's not a
                                                          monster"'makes me a lot more grounded.                                                              12:47 ✓/


I am so angry I have no words. Not at you. Neil, I'm so sorry. Fuck going to Waiheke. I'm livid with
everyone. This is beyond out of control and as I said I only have fondness and kindness for you. It was
consensual - how many times do I have to f ucking tell everyone.                                     12:53


                                                                            I hug you. Are you okay? I've been so wrapped up in me I haven't asked you. 12,. v

                                                          Post Covid was hard. (I have a theory btw that you and I had Delt a not Omicron, which is why it was
                                                          so hard. Because I had the complete loss of taste and smell and that 's not an omicron thing.) 13, 01

                                                                                                             And I have only fondness and kindness for you. 13 , 04 //

                                                                                                                        Thank you for being a good person. 13, 56 (/




                                                                             16
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                                                                     ..:   I hug you. Are you okay? I've been so wrapped up in me I haven't asked you . 12 , 59 ,,u

                                                         Post Covid was hard. (I have a theory btw that you and I had Delta not Omicron, which is why it was
                                                         so hard. Because I had the complete loss of taste and smell and that's not an omicron thing .) 13, 01 ,:,

                                                                                                              And I have only fondness and klndness for you. 13,04 u

                                                                                                                         Thank you for being a good person . 13: 56


I hug you back, deeply. Thank you for your words . • Slightly feel like I am drowning in worry for you,
Amanda, myself, but I am okay. So many narratives unfolding and I feel like mine has been twisted
along the way so much for various reasons I don't quite understand. I apologise for  fv'llllll1
                                                                                              fee l that
when I was talking things through with her she wasn' t listening to me, and coloured the story with her
lens of right and wrong out of (unwarranted) protection. She then developed a narrative which was
NOT mine. I am tired, sad, worried. And I really want you to feel safe, grounded and okay, to know you
are a good person, I rea lly respect you, and nothing bad will happen. Now sleep O nocturnal one!
                                                                                                      14•29

Also, totally agree about the Covid. The whole thing was very intense - I would not be surprised if it
was Delta. Good thinking ...... And I had a fever!


                                                                                                                                           Thank you. I agree. 14 ,31 -.t


                                                                           27/03/2022


                                                         tf ~     arries through her threats against me, would you say publicly that you and I were
                                                         consensual and that it's not true, I didn't rape you or groom you or whatever etc?                      11:04 w'

                                                                                                                   I'm sorry I even have to ask that question . 11 ,04 .//


Hey I'm just on the run grabbing hot cross buns. Of course I would. I' m sorry you have to ask that
question too. Though knowing ~          well It Is HIGHLY doubtful she would ever go through with
anything like t hat especially when she has no grounds to stand on. Het message sounds fucking
frightening though


                                                                                         It was utterly lunatic. And I think Amanda bought it completely. 11 .10 .,,

                                                                                                                                                And thank you. ,,:,o ,g


God don't thank me. Are you coming back to NZ? 11 :11


                                                         Eventually but I don't want to come back with .        or two weeks and be alone with Amanda . She
                                                         seems to think I'm a monster right now and it seems like a way of just increasing stress at a time
                                                         when I want to decrease it. Also I lost the first two weeks here to Covid so I'm still two weeks behirid
                                                         on editing.




                                                                            17
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                                                          Amanda is already back in the US so I'm not dealing with that.


Ah, I see. I wish you were coming b1;1Ck this time, I want very much to see you and to hug you deeply.
Christ this really does suck.


                                                                  One way or another you will get hugged by me. Thank you for being so solid in all this. 21: 3 , ,v


Thank YOU. I can't wait for that tucking hug.     ,
                                                21 32

                                                                           My daughter M-          just went down with Covid. She was leaving today. Sigh. z3:ss //


                                                                            28/03/2022


Oh dear. What is it with Covid and leaving days! Is she okay? 10; 24


                                                                                                                                        No, she's got it rough. 10,31 ✓/


0 fuck. I'm so sorry. 10,44


                                                                                                       I'm nursing her. So glad .       nd I had it so recently. 11, 22 y

                                                                                                                             Lots of rough Covid in the U.K. 11:33 .u


In a peculiar way, it is kind of lucky that you two had it when you did. Poor ~      xx 12:4
                                                                                               0


                                                                                                            She really is rough. So, yes. Rougher than me. 18, 35 -1.1

                                                                                                                                    I mean roughe( than I was. 19, 00   ~



Jesus!!! And you were BAD! I hope that she is okay... As if you didn't have enough going on already.
Honestly  0                                                                                       19:49


                                                                                                                                        I hug you. Thank you. 20,00 -B


Lying on the couch in a post food coma and I soooo wish you were here for a bit of a cuddle. Sending
good thoughts to you and your ~       ·


                                                                                                                                           Me too. Very much. 20 , 21 u


                                                                            05/04/2022




                                                                              18
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                                                                              05/04{2022


                                                            Checking in on you. Amanda picked Aa         p and is taking him back to NZ (via a day or two in
                                                            Australia). I hope you get to see him.

                                                                    M-      is almost over Covid and will go back in a couple of days, Then I'm on my own. 11 ,31 q

                                                            Thinking of you often and always kindly. I got to hug               in person today and smiled an extra
                                                            smile for you.                                                                                     11:33

                                                                                                                                         How are you doing? 11 ,43


Darling Neil, it is lovely to hear from you! I was going to text you today to say hello. Thank you for
texting • What a whirlwind trip of Amanda's ... How is A■ was he okay with leaving you behind?
And I am so relieved to hear about ,..,... oh goodness ... Did she have it worse than you? The
thought of you being on your own is so depressing, and I wish with every single fucking atom in my
body that you were returning this week. It is so bitingly unfair. I wish I could see you. It is my birthday
in a few weeks and I had been really looking forward to sharing some of it with you!                    12:17

The thought of you with - s a l l lactually made me explode a little on the inside.....! Actually the
other day I was wondering if you had been hanging out with her. The thought of my two crushes
together is wickedly thrilling. I have actually been watching Killing Eve and every time she comes on
screen my heart does a star jump.                                                                   12:19

I am doing good thank you, yesterday I passed my driving test! So I'm absolutely over the moon. I just
have to get a car now. But prior to that I've been feeling listless mostly, lonely and a bit depressed.
Trying to keep my spirits up.                                                                         12:19

HOW are you? .         ,
                     12 20


                                                                      So you know, I think post Covid depression is a very real thing. And we both have it. ts:02


I think you're right. Like you I've felt my mind wandering to some terrible places the last few weeks.
You can always reach out if you're feeling low, okay? Depression is Just the worst. So much love 23,19


                                                            Be kind to yourself. If there's anything I can send to cheer you up let me know. (Chocolate?) and yes.
                                                            It is the worst.                                                                                23:47 ,1.


                                                                              06/04/2022


Oh you, the sweetest, thank you. I would LOVE chocolate .... !!! Don't you know that's one of my
greatest joys in this life? But do not go out of your way. Can I send you anything? On top of the big
big hug I'm giving you right this second of course ....                                             02,01

I might have a cheeky photo I could send you .... ~       hehe. X 02,02




                                                                              19
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                                                                                                               Chocolate coming. What's the best address?? 03,06

                                                                                                                    And you are a sweetheart and I hug you. 04,42 //


Oh my goodness I can't believe it.
Miro Apartments




•
Auckland

When I was a teenager I suffered from very extreme anorexia and spent almost two years in and out
of hospital. Post Covid it came back with a vengeance. Since you saw me I have lost a LOT of weight!
This will be a wonderful, urgent impetus to heal myself and start to step back into the world of the
living so thank you Easter bunny xxxx sending you all my love, hope you feel okay today • • • •
                                                                                                       21:18


                                                           Food will be coming. Amanda said I'm paying for your apartment too currently- is that right? Glad to
                                                           help if so.                                                                                  22,30 /

                                                           I get it on the weight loss. ~      and I both lost a lot of weight post Covid but so much of that I think
                                                           is appetite. We just didn't want to eat. It took a long time for that to come back and it still doesn't
                                                           really feel like that part of my head is working.


Oh my gosh I don't know? I thought it was free?             mum had it empty and offered for me to
stay here until call& ~           eave, and she told me I could stay here for free ... God I'm confused.
I'm so sorry. Alas, thank you. The appetite definitely disappears doesn't it!                        22:32


                                                           Okay. That's probably true too. I'm not sure. I got a text from Amanda asking if I was cool for paying
                                                           for you to have an apartment until June. So I don't know. No problem.                              ,
                                                                                                                                                            23 03
                                                                                                                                                                  v

                                                                                 So it sounds like Amanda had a plan but then             mum helped out. 23,03 /.i

                                                                                                     I will send chocolate. What kinds are your favourites? 23,04 ✓/


                                                                             07/04/2022


Odd... I am under the impression it is a lovely favour that they are doing for me since it is sitting here
empty so yes I think Amanda's plan changed . •

When I was in London I used to go and buy the Charbonnel et Walker chocolates every Christmas. I
can firmly say they are my favourite chocolates on the fucking planet. I especially like the truffles and
the sea salty ones..... but I can't think about them too much because they send me into a desirous
conniption. And I like all chocolate apart from white chocolate or fruity chocolates. Also, I would be
happy with just a goddamn galaxy bar and a spiritual hug from you 8

Thank you sweetest friend. I miss you. Have a great day x                                             02:04




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                                                                                                                            Operation charbonel et Walker is on. 19,17 .,1.


                                                                                08/04/ 2022


AAAAAAAAAH. Neil. The best Easter bunny alive! Thank you •        •         •    •   sending all my love -
have a beautiful day beautiful man  8                                                                    00:47


                                                                                09/04/ 2022


                                                         The first round of chocolates will be Devonport's on Monday, as that's when their next chocolate
                                                         deliveries are.                                                                               00:37 --4


Oh my god - neil. I forgot about Devonport's! They are the best chocolates ever. Thank you genius
chocolate man. How could I forget them ......?
How are you faring now that M-      has left?                                                   10:14


                                                                                                       She leaves tomorrow morning. I'm not quite alone yet! 11,04 ✓,

                                                                                                                                 And WHEW on the Devonports ! 11,04


                                                                                10/04/2022


                                                                                              Amanda tells me you are having a very rough time. I'm so sorry. 22 ,43 I/

                                                                                                                 If there's anything I can do please let me know. 22 ,43 -<-


                                                                                11/ 04/2022


Thank you so much for checking in. I'm in hospital tonight, it's unruly and a bit scary here. Sending so
much love.                                                                                          01:18


                                                                      I hug you. Please please please look after yourself. You are so valuable to the world. 02 ,06 ✓..

                                                                                                                 And I still have to introduce you to F             02:06 ,.//

                                                                                              Can I redirect your chocolates? Is there anything else I can do? 02, 07 ✓

                                                                                                                        -    I worry about you. Very very much. 02 ,, v


Thank you neil, I worry about you very much too. These texts mean the world. I'll let you know
tomorrow about the chocolate... hopefully I will be discharged in the morning. Thanks for making me
smile re ~ ~                                                                                     03:10




                                                                                21
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Thank you neil, I worry about you very much too. These texts mean the world. I'll let you know
tomorrow about the chocolate ... hopefully I will be discharged in the morning. Thanks for making me
smile re ~ ~                                                                                      03:10

Best quote all night, as this angry man SCREAMS through the ER
"I need to eat.
Rest.
And music."                                                03:11


                                                            Well, if you go down I go down too I think. So we both have to keep each other's heads above water.
                                                                                                                                                           03:16 ✓/




                                                                                                          Q



                                                                                                                                 Spring flowers for you. 04, 10 ..(I


Ok deal. Let's promise to keep each other's heads above water. Thanks for the flowers     f 09,00
No words on discharge yet but I'll let you know ... 09,00


                                                                                                       There should be chocolates when you get home. 09,11 //

                                                                                                                                   And I hug you tightly. 09 ,24 :/




                                                                               22
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I got to pop home today to get some things, and
when I arrived guess what was there? A giant
box of chocolates. I tore open the box and ate at
least half of the first box in a fit of raging hunger
and JOY. THANK YOU Neil - what perfect timing
you achieved as well. It literally could not have
been better ?!?! Now I am in a quaint inpatient
clinic in Grey Lynn recovering, your chocolates
next to my bed like the sweetest embrace. Let
me know how you are especially when t-.'alll
leaves ok? I am hugging you tightly back xxx
thank you for making my day and truly making
me smile again. I mean it.                        22:55


                                                                            12/04/2022


                                                          Excellent. There should have been two boxes. A chocolate selection and a truffle selection too. (28
                                                          chocolates in all.)                                                                           01:40

                                                                                                                                And you are so welcome. 0 1:41 .//

                                                                                      (If there wasn't let me know and I'll make them send you the rest.) 01 ,41 //


                                                                            13/04/2022


                                                                                                                How are you feeling today? I'm still alive. 11, 61 ✓/


Terrible. Up and down but mostly suicidal as fuck. Although I have a beautiful view of the city from
my room so that's something. How are you feeling today dearest Neil?                                21 :15

Much love to you. 21,15




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Terrible. Up and down but mostly suicidal as fuck. Although I have a beautiful view of the city from
my room so that's something. How are you feeling today dearest Neil?                                21 :15

Much love to you. 21,15


                                                                                                                    Jesus. Is this my fau lt? I'm so so sorry. nsa

                                                                                                        Is there anything I can do to make anything better? 22:ss


                                                                                 14/ 04/2022


No not at all. It's no one's fault, it's just accumulative. It hasn't helped being alone for so long though,
first with Covid and then waiting for A■to come back. I quit my job, moved out of my place and have
had no Income for over a month and have just been alone in that apartment, so it absolutely sucks on
that front. I've been getting lower and lower just waiting. And now Amanda is talking about going
back to the US early and I have kind of uprooted my life for her and I can't be bothered rebuilding It
again with no money and nowhere to live when she leaves. Anyway it's all making me severely
depressed. But mostly it's been the loneliness. How are you today dearest Neil? I dreamt about you
last night, a happy dream! Somewhere on the Mediterranean.                                              09:16

If Amanda had been in touch with me even a couple of days earlier I probably wouldn't have ended up
in the psych ward and could have had enough connective stimulation to pull myself out of this. Like to
be totally crystalline with you. But I've been waiting for her, unable to get a job or do anything with my
time because of having no income and going on the government doll which just covered my
groceries. A one way path to suicide.

It's not Amanda's fault either, it's just the situation is terrible. And I'm so tired. 09: 22


                                                                                                                                                    I get ft. OSZ3

                                                                                                                                                 I really do.
                                                                                                                                                                0923


Thank you so much. I absolutely know that you get it. And it is so helpful just feeling heard. 09 ,25




                                                                                   24
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                                                                                                                                114 2 01                        09 26 ✓/

                                                                             I sent you a film because I thought it might be more Int eresting than typing. 09,26          ,,



This made me smile to no end..... I can't stop smiling !! It is so lovely to hear your voice and see you!!!
And that hilarious hotel room. Fuck thank you for overjoying me and touching my heart. The F-
Sllllidea always helps me escape from the tendrils of suicide, it makes me so elated on a cellular
level. Thank you neil xxx                                                                             09:37


                                                           I'm glad I made you smile. F-     S-     Anansi Boys fancy premiere. Scarlett and Neil both stay alive.
                                                                                                                                                                 10:50 //


Fuck, I have had an impossible day. I have to move out of the apartment because basically Amanda
told ~ I was suicidal and now ~ Christian mum doesn't want me staying there and says I
have to leave. Just when you think it can't get any worse ... Ha! Almost a cosmic joke - I think I
unpacked my last banana box 5 days ago? BUT we have to hang in there. I am going to keep this
~ ~remiere fantasy alive in my heart and you do the same. It is a valid reason to keep
holding on. :') And seriously, I think you are so special, your video made my day, and I am sending
you all of my love. You are a precious, delightful, hilarious, delicious human Neil xxx             21:51


                                                          I'm so sorry. Let me ask ~       if she has any ideas? I'd let you have the house again but I think
                                                          Amanda has let it or something. I am sorry it is rough. I know I have so much privilege as I can at least
                                                          afford stuff and am not having to worry about where I am going to sleep.                         22:os n

                                                                                                              I hug you and know you will get through this. 22, 07

                                                             You can ask Amanda to keep your business private. She doesn't have to tell people things. 22 ,08 .,,


Thank you that would be great if you could ask R-       1am absolutely bewildered with what to do, I
have moved TEN times in 3 years, and have PTSD over housing in Auckland. Honestly it is something
that wants to push me over the fucking edge. I wish she hadn't said anything and it feels so
disgusting and archaic that people are so ignorant over mental health.

Lord even B-      randomly texted me saying she knew... clearly word travels quick on that goddamn
island.                                                                                               22:21


                                                                                                                                            I'm so sorry. Sigh. 22,47

                                                                                      Let me know how I can help. Whatever I can actually do from here. 22 ,48 v


Thank you. At the moment just be good and loving to yourself today. Knowing that will soothe me. X
                                                                                                      23:1s


                                                                                                                                           I will be kind to me. 23,19 L




                                                                              25
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                                                                                                                              • o ,a                      oi-og ✓/




                                                                                                               ,+ Forwarded                                    V




                                                                                           Play this whenever you think there's no point to carrying on. 06, 28 ✓/


I was finally sedated by my third sleepy drug by the time I got your messages. I was in the most
dreadful state last night. I can't believe your messages. I'm still waking up and am going to watch
them again, hearing your voice, seeing you, F■■■■■■ s- you have honestly honestly
made me feel significantly better this morning. How do you do it. Thank you xxxxxx now I have videos
that will always keep my head above water. Wow V. ~,. ~,.                                           09:17


                                                                                                      That's what they are for. Especially the F-   one! 10,32 .u


It has delighted me to the ends of t he earth. I can't even tell you how happy you have made me • -, if
-      believes everything will get better then it definitely WILL.                              10:33




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                                                                                                                                          Exactly. It will. 10: 34 ..//

                                                                                                                              How are you doing today?         ,   ,
                                                                                                                                                             18 22

                                                                    Do you have a place to go when you get out? Should I ask R-           o look for you? 18, 37

                                                                                                (And what kind of place and thing are you looking for?) 18, 37 ..//

                                                                                                                         (Size, price, location, all that?) 18,43

                                                                                              And do you need help with rent while you find your feet? 20, 33 .d


I'm terrible. Furious with Amanda and this situation. I have nowhere to go when I leave, and I'm not
being dramatic. How are you Neil?                                                                  22:41


                                                                                                                                               I will help. 22,43 ~


Thank you. Amanda keeps saying she will help but it seems more philosophical rather than actually
like she will help.                                                                           22:43

Her words have nothing tangible to them yet ... I've spent the day basically doing watercolour circles
to contain my rage.                                                                                22:44

I plan to leave NZ in June, so it's short term accommodation. I stupidly booked a flight out of here
when I thought that there was a solid plan and everything was good. Sigh.

How are you?! I've been thinking of you so much. 22,46


                                                                                                             I'm very happy for the help to be tangible. 23,09 ..//


                                                                           16/04/2022


                                                         Amanda means well. Like you and like me she's under stress and in pain. Like you and me she doesn't
                                                         always make the best decisions. Let me help as much as I can.                               oo:os
                                                                                                                And this is for you. It calmed me today. 00,40

                                                                                   Mary Oliver Wild Geese


                                                                                  http://www.phys.unm.edu                                                    00:40 .t

                                                                                                              ,+ Forwarded




                                                                             27
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                                                                                                                              I took that photo last night. 18, 47 (I

                                                                                                   Worrying about you. Let me know how you are doing. 18, 47 ✓/


Darling Neil. A flare to say hello and how much your messages are touching my heart. I am
completely not ok, trapped in my spiralling mind struggling to keep my psyche intact. I feel I have
gotten acutely worse over this week after everything that has happened and having to move. My
emotional state almost schizophrenic. How are you? The moon is so beautiful here tonight. X        20:28

Wild Geese. Perfect timing. 20: 28


                                                         Hang in there. I've got your back on the bits I can help with. You will be okay and I will be okay. You
                                                         have a beautiful psyche and you mean only good. You will get through this.                         20:57 (I

                                                                                        And I can help to get you housed and settled when you are out. 20,58 ✓/


Thank you darling N x touch base tomorrow. Your support is honestly getting me through. Let me
know how you are ok? Sending love and I'm about to fall into a deep sleep x




                                      0



I watched the final of killing eve
tonight and after your text and
F-    l've decided that things are
improving xx


                                                         They are. I'll help. And ~      ants to see you at the Anansi Premiere. Now you get better and hang
                                                         in there.                                                                                          22:47   fl




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Morning you. How are you doing? 19, 36


                                                          I was literally about to send you the same message. I'm ... okay I think. I have a friend I sometimes
                                                          text numbers to (out of 10) and it's useful for knowing if I'm really rough. Jl2r 2) Right now I' m about
                                                          a 4 . So much to do before I leave for the US. And I have to stay alive for A9nd my family and for
                                                          you.                                                                                                 20:01

                                                                                                                                            How are you? 20 , 02 ~


Mmm the numbers thing is useful, I like it. A 4 is ...okay. And damn right you bloody have to-stay alive
- that is non negotiable Neil! I am okay too, probably also about a 4. I picked some f lowers and went
to ttie beach today with a friend so that was soothing. I will probably be out of here by Wednesday I
am imagining, and I feel ready, I am starting to miss the simple life things like food shopping and
cycling around.                                                                                     20:30

When do you leave for the US? There must be a lot to do, yes. Amanda says you are going into some
sort of treatment?  0~    V                                                                    20:31

Big hug to you from me 20 , 31


                                                                            18/04/2022


                                                          4 sounds good too. I' m glad. I haven't activated ~         et- let me know what kind of thing you are
                                                          looking for on a place to live.                                                                      10, 02 JI

                                                          Amanda says I need In-patient treatment for many months. She may well be right. I'll talK to the
                                                          professionals when I get to the US and be guided by them.                                        ,
                                                                                                                                                         10 03
                                                                                                                                                               ti

                                                                                                                                         I leave on Friday. ,o,oA

                                                                                                                                        1 have a tour first.   ,o:o4 v


I have applied for 5 flats but been rejected from all of them - there is so much competition in
Auckland and it's hard because I don't have a job so they just say an immediate no. I need something
short term, for the next month or so t o get me on my feet. Around Grey Lynn, Ponsonby, Freeman's
Bay, Eden Terrace, Westmere, Saint Mary's Bay is good so quite central... a sleepout, apartment,
room, Airbnb - anything. I would be fucking so grateful for yours and R           help. Apparently
           um came in over the weekend and packed all my stuff up (she's an extremist Christian, she
probably thinks I'm possessed by a demon) so now I can't even reall y go back there and touch base
with myself. Laughing about it though because she sounds needs help more than me... i:;;,,         14:01

Inpatient treatment, that is quite extreme, gosh. Yes just talk to the professionals as you say, You
probably also need lots of love and support and gentleness. I'm sorry it's so hard. I am TRULY here
for you so profoundly Neil x                                                                         14:03

Your tour! Such a superstar. Is that something you are looking forward to? •      14
                                                                                    ,n,~




                                                                             29
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                                                                                                                                               No, not really. 21,06 ..1,


                                                                               19/04/2022


Fuck fair enough, I understand. 08,30


                                                                         I'm doing it because I don't want to disappoint people who bought tickets in 2019. 10,08 ✓.,

                                                            Do you have a place to go or someone to stay with when you do get out while I get R-             onto this?
                                                                                                                                                                12:35 //

                                                                                                                     I talked to R~        ho will reach out. 20,59 ✓/


Hey you. I've just gotten out of the bath. It's my first night out of the place and I'm staying with my
friend ~         I really miss you ... In fact I miss you so much Neil. I keep thinking of how happy I was
those weeks in your unwashed sheets, hehe. And your beautiful smell.

Also, thank you. I'll write soon. But I just wanted to say that. 21,11


                                                                                    I am glad we had the time together and I am sorry it brought you Grief. 22, 25      v

It has not brought me any grief, apart from missing you of course. The situation subsequently with
Amanda has -- but that is something different entirely. Are you ok today?                        22:33


                                                                               21/04/2022


                                                            I think I kind of am. I'm not sure. But my friends are here and my art is good and that's all I can hope
                                                            for.                                                                                               05:07 //


Exactly. •      ,
              21 53




                                        Q




                                                                                 30
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A silly video. I hate my voice and
face on video but there you go ~
                                 21:54

I've had such a major day. God the mental health realm is so terrible here.... well like everywhere I
guess. Horribly underfunded. I have been discharged and thrown out alone into the wilderness of my
psyche again! My therapist wants to get me into an inpatient DBT program in the South Island, but
the waiting list is a whole year. I wish there was more help available, it's a sad state of affairs over
here in that department.                                                                                 21:57

How are you today Neil, in numbers? You must be almost leaving. Golly gosh. 21:sa


                                                            I'm weird. Probably a 5 but with flashes of 1 or 2 as I look at the US and returning and Amanda and
                                                            trying to work out what life is. But I'm dealing with the madness of airports and travel aoo leaving and
                                                            it's all a bit mad.

                                                                                                           Just arriving at Edinburgh airport now. More later. 23,20 0

                                                                                                                                                      ~     Xx 23:20 f/

                                                                                                                                                             C 23:20 l l

                                                                                                                                                             X 23:20 .P


Xxx 23:41

                                                                                  24/04/2022


                                                            I landed. Feeling very strange. In a house that isn't a house. It's a big office that's a barn that has a




                                                                                  31
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                                                           top floor apartment that I bought without seeing it before the pandemic.

                                                           I just found a secret closet in my bedroom. The cleaner says that the previous owner of the building
                                                           who brought carved stuff in from india also smuggled in hash which may explain it. Will send photos
                                                           when I wake up.


Hi darling. Send photos. I'm thinking of you! It's my birthday xx 17, 58




                                                          Happy birthday!!! You should have told me!! More chocolate will follow if you get me a new address to
                                                          send it to.                                                                                  22:57 ✓/

                                                                                           That looks like an amazing salad. And you look really happy. 22,58


                                                                            25/04/2022




                                                                              32
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                                                                                                                               ac 0·20                     01 02 ✓/


It's 5am and I'm just home. I'll watch this in the morning x you are wonderful. I had the best day!
Finished off at a friend's 60th. •                                                                  05:12




                                                                                                                                    Amazing! I'm so glad. oT,o ..//

                                                                           It all looks wonderful. Also, send an address and I will make chocolate happen. 08:33

                                                                                                   (Was the Devon port okay? Which were the good ones?) 08,34 ..//


                                                                              26/ 04/2022


Hello darling Neil! • • How are you? You are so damn sweet, thank you. I 'm actually staying in
Devenport as of today with my f riend M-       Will send address later. Your house is beautiful, look at
that little secret nook, perfect for hiding naughty Scarlett 's in ~ hahaha !! My idea of heaven     u It
is gorgeous though, and looks really cosy. I'm happy you are there. How does it feel being back in the
US?                                                                                                   12:16

I had the most unexpected and wonderful party. So many people f rom so many different walks of my
life showed up and I was showered in love. Then I danced until 5.30am at this mutual friend's 60th
and I couldn't believe what an excellent day it was. It felt like turning towards life for the first time in
forever.




                                                                               33
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life showed up and I was showered in love. Then I danced until 5.30am at this mutual friend's 60th
and I couldn't believe what an excellent day it was. It felt like turning towards life for the first time in
forever.


                                                            That makes me so happy. I'm really pleased that you had a party and love and most of all JOY. You
                                                            deserve it so much.                                                                          15:57


Thank you Neil. • my address now is                                                  have been wanting to
try Honest Chocolat of late ...U      Also I was wondering I have to shift all my stuff from D-       place
this week but I have no way of transporting it... my dad and I are not on speaking terms anymore
(which hurts). Would I be able to potentially borrow your car somehow? I finally got my license! No
worries if not - I am just t rying to practically get my ducks in a row - which is proving very difficult.
There are a lot of fires burning in my life right now.                                                  19:07


                                                            The car is with ~        nd X- 1 believe. Happy for you to borrow it, but I suspect it will be
                                                            cheaper and easier if I rented you something for the day as we wouldn't have to pay car ferry fees
                                                            and you wouldn't have to get it from the island and back. I can ask ~      o organise.           , ✓/
                                                                                                                                                           23 65


                                                                              28/04/2022


Thanks N. I am all sorted now, and all moved out, it all happened so fast. Where are you now? Has the
tour begun? •


                                                                              29/04/2022


                                                                                                                                            It starts today. 00, 24   ~


                                                                              01I0,s,2022


                                                            How is it going? I'm on tour (which is hard) and I just learned a dear friend of 34 years and mother to
                                                            my goddaughters was killed in a car crash (which is much harder).                               02:16


                                                                              02/05/2022


Hey Neil. I have been thinking of you and also you have been in my dreams of late. I'm so, so, so sorry
to hear this devastating news. How awful. I'm so sorry. A car crash. ~, 9 9 V ~, all my heart
goes out to you (and her).                                                                         01:18

Thanks for checking in. I'm about a 4/10. But it's getting better (I think). 0,,,9

Are you ok? I imagine you are going through a lot, and I am so deeply sorry. X        v     Q




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                                                             The car crash was a car rammed from behind by a huge truck and rammed into another huge truck
                                                             that went up like a fireball. Still coming to terms with it.                             10:51 //


                                                                                    04/05/2022


That is absolutely, absolutely horrific. I can't believe it. I'm so sorry Neil. •        ,
                                                                                       09 44


                                                                                                                                  I keep replaying it in my head. 12, 49 11

                                                                                                                  I'm organising paying for the new flat for you. 12, 50 -/I

                                                             And apparently I was paying for D-       mum's flat for you. Amanda told me that she'd taken the
                                                             money to pay D           um out of our joint account to pay. Still not sure what that was about other
                                                             than If you had known it was being paid for you could have had some kind of renter protection.
                                                                                                                                                                    12:s2 //


                                                                                    05/05/2022


God Neil. This gets weirder and weirder, I'm so sorry, I had no idea. Are you absolutely sure you
were? I mean this is very confusing because Amanda told me from t he start □-mum was just
doing it out of the grace of her good Christian heart.                                            23:25

How are you faring Neil? Are you ok? •          ,
                                              23 26

And thank you for helping with my new place whilst I get myself set up again - it means so so much.
Honestly. Just to get solidly back on my feet. X


                                                                                    06/05/2022


                                                             I don't know. I mean Amanda's said a number of times that she was paying for it. And that meant that
                                                             I was providing the money. But she told me recently that that was where the money had gone from
                                                             the joint account, to paying D-     mum. It seems very weird to me.                          02:55 ✓/

                                                                                        I'm very willing to get you back on your feet, and happy that I can help. 02, 56 ,,

                                                             I'm okay. Stressed out but okay right now. Yesterday I saw my grandsons for the first time in three
                                                             years and that was pure joy all the way.                                                        02:58 //


                                                                                    09/05/2022




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                                                                              09/05/2022


Hey Neil. • yeah, the whole situation is fucked and it gets weirder and weirder. Honestly. I would
never have taken that apartment had I known you were paying for it - all of this makes me irascible
but I'm trying to be Buddhist about it all - ha! Thank you for helping me get back on my feet. If D-
doesn't need your car that would probably be the most useful t hing in the world for me to borrow               0
right now - for the next month at least. I'm staying in Devonport and just struggling to get around
majorly! But I understand if that is an arranged deal with her (just putting it out there if it isn't). 20,06

I'm so glad about your grandsons. That sounds so lovely and heartening! 20, 07

How are you? I am thinking of you everyday. You have had a hell of a year. How is it in the US? I would
love to hear your voice, send me a voice message if you can, tell me how you are • I'm so sorry
about the loss of your dear friend. It is all so rough. I am truly here for you. X


                                                                              10/05/2022


                                                                                                                             Let me find out about the car! 02,47 .u

                                                            I'm hanging in there and on tour and it's all a bit mad. R-        out here for a couple of weeks
                                                            because touring was too hard for just me and ~        Exhausted. I will record something for you when I
                                                            come to rest.                                                                                     02:48 Q




                                                                              17/05/2022


Lovely Neil, thank you so much. Sorry for taking so long to reply to you! It's been a hell of a week.
How are you? I'm glad R-         is with you and I bet you are exhausted. Thank you for all your
generosity of spirit and help. X                                                                    06:04




                                                                               36
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Lovely Neil, thank you so much. Sorry for taking so long to reply to you! It's been a hell of a week.
How are you? I'm glad R-         is with you and I bet you are exhausted. Thank you for all your
generosity of spirit and help. X                                                                    06:04

Did you find out about the car? I am needing to get some wheels more than anything... maybe D-
could loan it to me even just for a month so I can sort my own vehicle situation out? Or do they have
an arrangement with you? • •                                                                       06:05

Let me know how you are and I send LOVE. os:os




                                                                                                                Q




BREATHE. BREATHE you beautiful being. f'.,f'.,f'.,f'., And rest if you can. When is the tour over?
My god - nonstop for you. I am sending all my love xxxxx                                            20:22




          Cit
                                                                                                                                V




                                                                               37
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 ·-,; today visiting my Artist friend
~          my shirt matched the
beginning of one of her works • •
                                  20:23

• •        • • • sooooo much love to you. I hope you have lots of humans around making you
delicious healthy food and rubbing your head and making your matcha in the morning loving you
deeply.                                                                                       20:25


                                                                             18/05/2022


                                                           Thank you dear. I don't, but I have C- who you don't know) and R-             (who you do) on the tour as
                                                           well. They are terrific (but R-       sick right now). I talked to her yesterday about the car at
                                                           ~                                                                                                01:36




                                                                                                                                  CID
Thank you darling. Why look at that lovely face! X 14,17

I want to come over and visit you one day. Even just for a few days, before the end of this year . I'm
a bit drunk and maybe this is an extremely far fetched dream hehe, but god I just wish I could see
you. I miss you very much Neil.                                                                    19:10

                                   ~ ...... and am rather insatiable. 19:16
Sorry I have had one too many gins ...,..


                                                                             19/05/2022


                                                                                                      I send you love in quantity and hugs too from here. 01, 35 //


Haha.... oh dear I was a bit inebriated. So much love. 07,02


                                                                                                                                       All very good dear. 08, 52 //


                                                                            02/06/2022




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                                                                                                                                         All very good dear. 0 8 52 ~


                                                                             02(06/2022


                                                                                                      Hullo lovely, Checking in on you. How are you doing? 13,41 ✓/


                                                                              10/06/2022


Darling Neil. So much is happening, I'm okay, drowning in busyness and keep popping my head above
water for little sips of air. How are you dear friend? Where are you? Are you with . again? Sending
all my love to you, missing your presence. X

I am toiling away at a cafe - it is draining. I have a sort of girlfriend now though! Her name is
            She is Irish and in her 50s and very fun.


                                                                              11/06/2022


                                                                                           I'm so happy you have a sort of girlfriend! That's the best news. 15 ,39 ✓/




                                                                                                                                           «-
                                                                                              ,tlis spending half the time with me and half with Amanda. 15040 ..I/

                                                                                                                                               It's not easy. 15.40 .u

                                                                                                                                   She's off for a week now.     ,   ,
                                                                                                                                                               15 40
                                                                           No, she's off for a few days then back for a few days then gone for two weeks. 15_       ..,.



                                                                              14/06/2022




                                                                               39
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                        .    d ,._,
God that sounds complicate      ~ I hope you have some good help... ?!       ,
                                                                           22 47

Love that photo. You are two freshly picked ripe berries. All is just so big x 22 :47

How's the house? 22:47




Love from here. •               22:47

                                                                             17/06/2022




                                                                             40
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                                                            The house is weird but nice. And Al    is away with Amanda for a week. Which is weird too not having
                                                      ..:
                                                            him here.                                                                                               11:38 ./.I


                                                                              22/06/2022


I can imagine it is weird! Love the video. Miss you. Will you be back to NZ this year? 10, 23


                                                                             23/06/2022


                                                                                                                                         I'll be back in January. 01 ,16 v'/


                                                                              01/09/2022


Hey Neil - how are you? Long time no speak. How is Woodstock? And •              I was wondering if you
wouldn't mind being a reference for me as an ex employer... Amanda won't give me a reference for a
potential new job and I would really appreciate being able to get one - I've got a potential job offer
from a lovely family in London and they're asking for a reference. It makes me quite sad that Amanda
wouldn't give me one, especially after all the help I gave her. Hope all is well and stay in touch . Please
let me know how you are. scarlett x                                                                    22:so


                                                                             02/09/2022


                                                                                                               I am happy to give you a reference, of course. 00 , 35 ✓/

                                                                                                                                           How are you doing? 00 ;35 / /


Neil, thank you. I will write back later x 01 , 50


                                                                                                                           s          in London reached out. 08,07

                                                                                                                       And Amanda exists in her own reality. 08 .08 ..I/

                                                                                                   I'll say nice things about you to s            do not worry. 08,08 .Q

                                                                                                                Spoke to s           Told her you were great. 15, 16 v'/


                                                                             03/09/2022


Neil - thank you so much. I appreciate it profoundly. Yes Amanda certainly exists inside her own
reality, it was so disappointing her response. I really want to get a new job with strength, grace and
empowerment so I appreciate your help and championing so much. How are you? What's going on?
Congrats for Sandman release - wow. How do you feel?                                                 03:01


                                                                             04/09/2022




                                                                                41
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                                                                             04/09/2022


                                                                                                                                 I'm glad it's going so well. 02 , 23 .h

                                                                                                                                     But I worry being me. 02 , 24 ✓/


                                                                             03/12/2022


                                                          How did the job go? R-         mentioned to me that you are back from the U.K. and were going to take
                                                          over your flat yourself. Does that work for you? I'll be in NZ in January. Hope all is lovely in your
                                                          world.                                                                                              16:06 //

                                                                                                             Probably back for about 3-6 weeks this time. 16,15 (I


                                                                             04/12/2022


Hi Neil. I'm actually having a dreadful time. After everything that happened I have not recovered, and
that's why I'm back in New Zealand, because I really need some professional help. I'll write later in
the week, I'm so busy j ust trying to sort myself out, and find a job again before Christmas. I'm moving
into a new flat next week and if you are able to, it would be a great help to have some support on that
if you can. At least until I find myself a job. But I really just need some actual emotional help - I have
been so affected by everything that it has shaken the foundations of my core identity and world. I am
not able to function as I was used to Neil. It's actually gotten more sickening overtime, t here is not a
moment I am not haunted, and I am suffering immensely. Contrary to it getting better, it has actually
gotten worse.

I hope you're doing okay. I'm sure it's not been an easy year for you too.                           23:22


                                                                             05/12/2022


                                                                :.   Oh! I'm so sorry Scarlett. Of course. I would happily help you. That sounds awful. 03 _" v


                                                                             06/12/2022


                                                                                                     Do you have support out there? Friends? A partner? 0 2 ,39 ../.




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                                                                             10/12/2022


Honestly, no one really is aware of the level of pain I'm in. My friends in London are aware and
basically sent me back, now I'm here alone and exhausted. Ironically it feels even worse to be in New
Zealand after all that happened. I am also out of steam because I haven't eaten in months and
basically lost the ability to function properly physically and mentally, anorexia has stolen my entire life
and brain from me since February and I'm actually very unwell with it. A war with my body has broken
out, understandably. I wish I could say something positive but honestly I'm just at rock bottom and so
lost.


                                                           That's awful. I' m so sorry. Is there anything I can do to help, apart from financially helping with the
                                                           apartment?

                                                                                                                                      Can I send you soup? 08, 34

                                                                      I'll be out in NZ in January. Would you like me to take you for a walk or just to t alk? oa:35 ,✓


                                                                             28/12/2022


Hi Neil, that would be really great I think. Thank you. Also do you think it would be possible to help
me with my rent t his month? I've only been able to get a few pre- Christmas shifts at a cafe I used to
work at and now everywhere has shut up until mid Jan, and I am so panicked about it. It would be the
most enormous help. When do you arrive in NZ?                                                        09:06


                                                           Sure. I already spoke to R-      about helping if you need It. We get there on the 4th I think. Amanda
                                                           and Aa,-iill probably leave before I do, as I'll be on Allllduty while I'm there.                15:31 ./1

                                                                                                                                   How much do you need? 13:31 .//


Thank you so much Neil. Honestly, I can't tell you how helpful this is. It 's an enormous stress and
pressure for me right now. Rent for this month would be amazing. My new place is $375 a week. I've
just had to pay a lump sum bond and now I hardly have enough to pay my rent or groceries! But the
place is lovely and full of light, I can see myself here for years. I am sharing with another girl H. . .
and quite close to R-         1think. You're lucky because the weather has just become very warm,
after raining and being miserable for weeks on end. The cicadas are gorgeous. It's definitely helping
my mood

How are you feeling about coming back? 14,44


                                                                                          Looking forward to seeing people again. And being in my house. 17:os ✓✓

                                                                             THURSDAY


                                                                                           It's good being here. Thinking of you and hoping you are okay. 10,06 ..u




                                                                                43
